Case 7:17-cv-00458-MFU Document 1 Filed 09/29/17 Page 1 of 13 Pageid#: 1




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                            ROANOKE DIVISION

KEITH CARROLL,

        Plaintiff,
                                                           Case No: 7:17CV 458
v.


MEMBERONE FEDERAL CREDIT
UNION (“MemberOne FCU”)

Serve: Executive Director
     In His/Her Official Capacity
     MemberOne FCU Headquarters
     202 4th St. NE, Building C
     Roanoke, VA, 24038

        Defendant.

                                      COMPLAINT

        The above-named Plaintiff, Keith Carroll, by counsel, states as his Complaint

against Defendant MemberOne Federal Credit Union (“MemberOne FCU”), the

following:

                                    I. JURISDICTION

     1. This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C. §

1331 and 42 U.S.C. § 12188, for Plaintiff’s claims arising under the Americans with

Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12181 et seq.

     2. Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(b)(1)-(3)

because Defendant resides in this District, Defendant’s principal place of business is in

this District, a substantial part of the events or omissions giving rise to Plaintiff’s claim
 Case 7:17-cv-00458-MFU Document 1 Filed 09/29/17 Page 2 of 13 Pageid#: 2




occurred in this District, and Defendant is subject to personal jurisdiction in this

District.

                                    II. THE PARTIES

   3. Plaintiff is an adult resident of Virginia. Plaintiff is permanently blind and uses

a screen reader in order to access the internet and read website content. Despite

several     attempts     to   use   and   navigate    MemberOne       FCU’s     website,

www.memberonefcu.org, Plaintiff has been denied the full use and enjoyment of the

facilities and services of memberonefcu.org as a result of accessibility barriers on

memberonefcu.org. The access barriers on memberonefcu.org have caused a denial of

Plaintiff’s full and equal access multiple times. Similarly, the access barriers on

memberonefcu.org have deterred Plaintiff from visiting MemberOne FCU’s credit

union locations.

   4. Plaintiff is informed and believes, and thereon alleges, that MemberOne FCU is

a federal credit union with its principal place of business located in Roanoke, Virginia,

in this District.      Plaintiff is informed and believes, and thereon alleges, that

MemberOne FCU owns and operates credit union locations in Virginia. The credit

union locations constitute places of public accommodation.          MemberOne FCU’s

locations provide to the public important goods and/or services. MemberOne FCU

also provides to the public the memberonefcu.org website.            Memberonefcu.org

provides access to MemberOne FCU’s array of services, including a locator for the


                                           2
Case 7:17-cv-00458-MFU Document 1 Filed 09/29/17 Page 3 of 13 Pageid#: 3




MemberOne FCU facilities, information that enables a person without an account to

learn what services MemberOne FCU has to offer potential customers including

descriptions of its amenities and services that enables a user to obtain general

information about particular topics and specific information about what MemberOne

FCU offers, and many other benefits related to these facilities and services. The

MemberOne FCU facilities are public accommodations within the definition of Title III

of the Americans With Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12181(7).

Memberonefcu.org is a service, privilege, advantage, and accommodation of the

MemberOne FCU facilities. Memberonefcu.org is a service, privilege, advantage, and

accommodation that is heavily integrated with these locations.

   5. At all times relevant to the Complaint, MemberOne FCU was acting through its

agents, servants and/or employees.


                           III. FACTUAL BACKGROUND

                 Applicability of the ADA to Commercial Websites

   6. The Internet has become a significant source of information, a portal and tool

for conducting business, and a means for doing everyday activities such as shopping,

banking, etc. for both the sighted and blind, and/or visually-impaired persons.

   7. Blind individuals may access websites by using keyboards in conjunction with

screen-reading software that vocalizes visual information on a computer screen.

Screen access software provides the only method by which a blind person may

                                          3
Case 7:17-cv-00458-MFU Document 1 Filed 09/29/17 Page 4 of 13 Pageid#: 4




independently access the internet. Unless websites are designed to be read by screen

reading software, blind persons are unable to fully access websites and the information,

products and services contained thereon.

   8. The international website standards organization, W3C, has published version

2.0 of the Web Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-

established guidelines for making websites accessible to blind and visually-impaired

people. These guidelines are successfully followed by numerous large business entities

to ensure their websites are accessible. These guidelines recommend several basic

components for making websites accessible including, but not limited to: adding

invisible alternative text to graphics; ensuring that all functions can be performed

using a keyboard and not just a mouse; ensuring that image maps are accessible; and

adding headings so that blind people can easily navigate websites. Without these very

basic components, a website will be inaccessible to a blind or visually-impaired person

using a screen reader.

   9. Within this context, numerous federal courts have recognized the viability of

ADA claims against commercial website owners/operators with regard to the

accessibility of such websites. See, e.g., Andrews v. Blick Art Materials, LLC, -- F.

Supp. 3d --, 2017 WL 3278898, at *12, *15-*18 (E.D.N.Y. Aug. 1, 2017) (Weinstein, J.);

Thurston v. Chino Commercial Bank, N.A., No. CV 17-01078 BRO (JCx), 2017 WL

3224681, at *5 (C.D. Cal. July 27, 2017) (citing Gorecki); Markett v. Five Guys

Enterprises LLC, No. 1:17-cv-00788-KBF, slip op. at 4-6 [ECF #33] (S.D.N.Y. July 21,

2017); Gorecki v. Hobby Lobby Stores, Inc., No. 2:17-cv-01131-JFW-SK, 2017 WL
                                           4
Case 7:17-cv-00458-MFU Document 1 Filed 09/29/17 Page 5 of 13 Pageid#: 5




2957736 (C.D. Cal. June 15, 2017) (Walter, J.) (denying a motion to dismiss sought

against ADA and California’s Unruh Civil Rights Act claims) (“[T]his is a relatively

straightforward claim that Hobby Lobby failed to provide disabled individuals full and

equal enjoyment of goods and services . . . by not maintaining a fully accessible website.

There is nothing unique about this case, as federal courts have resolved effective

communication claims under the ADA in a wide variety of contexts-- including cases

involving allegations of unequal access to goods, benefits and services provided

through websites.”); Gil v. Winn-Dixie Stores, Inc., No. 16-23020-Civ-Scola, -- F. Supp.

3d --, 2017 WL 2547242, at *7 (S.D. Fla. June 13, 2017) (finding that the defendant, a

large supermarket chain, had violated the plaintiff’s rights under the ADA by failing to

maintain an accessible website after a non-jury trial); Frazier v. Ameriserv Financial

Bank, Nos. 2:16-cv-01898-AJS (Lead Case), 17cv0031 [ECF #107], slip op. at 20 (W.D.

Pa. Apr. 21, 2017) (denying a motion to dismiss an ADA claim alleging an inaccessible

commercial website); Frazier v. Churchill Downs Inc., Nos. 2:16-cv-01898-AJS (Lead

Case), 2:16-cv-0007 (Member Case) [ECF #107] slip op. at 20 (W.D. Pa. Apr. 21, 2017)

(same); OmahaSteaks.com, Inc. v. Access Now, Inc., et al., No. 8:17-cv-00060-LSC-

CRZ [ECF #9-1] (D. Neb. Apr. 17, 2017) (consent decree); Access Now, Inc., et al. v.

Omahasteaks.com, Inc., Nos. 2:16-cv-01898-AJS (Lead Case), 2:17-cv-00269-AJS

(Member Case) [ECF #99] (W.D. Pa. Apr. 11, 2017 (same); Gil v. Winn-Dixie Stores,

Inc., -- F. Supp. 3d --, No. 16-23020-Civ-Scola, 2017 WL 2609330 (S.D. Fla. Mar. 15,

2017) (denying a motion for judgment on the pleadings sought against an ADA claim

alleging an inaccessible commercial website); Nat’l Ass’n of the Deaf v. Harvard Univ.,
                                          5
Case 7:17-cv-00458-MFU Document 1 Filed 09/29/17 Page 6 of 13 Pageid#: 6




Case 3:15-cv-30023-MGM, 2016 WL 3561622, at *12-*20 (D. Mass. Feb. 9, 2016)

(Robertson, Mag. J.) (recommending the denial of a motion to dismiss or stay

predicated on the primary jurisdiction doctrine), adopted in Nat’l Ass’n of the Deaf v.

Harvard Univ., Case 3:15-cv-30023-MGM, 2016 WL 6540446, at *1-*3 (D. Mass. Nov.

3, 2016) (Mastroianni, J.); Nat’l Ass’n of the Deaf v. Massachusetts Inst. of Tech., Case

3:15- cv-30024-MGM, 2016 WL 3561631, at *1 (D. Mass. Feb. 9, 2016) (Robertson,

Mag. J.)(recommending the denial of a motion to dismiss or stay predicated on the

primary jurisdiction doctrine), adopted in Nat’l Ass’n of the Deaf v. Massachusetts

Inst. of Tech., Case 3:15-cv-30024-MGM, 2016 WL 6652471, at *1 (D. Mass. Nov. 4,

2016) (Mastroianni, J.); Edward Davis v. Orlando Wilshire Investments Ltd., et al.,

No. 5:15-cv-01738-MWF-KK, slip op. at 10 [ECF #17] (C.D. Cal. Nov. 2, 2015)

(Fitzgerald, J.) (denying motion to dismiss in a website accessibility case) (“the Court

concludes that the Complaint sufficiently alleges that the inaccessibility of the Website

impedes the full and equal enjoyment of the Hotel.”); Nat’l Fed’n of the Blind v. Scribd,

Inc., 98 F. Supp.3d 565, 576 (D. Vt. 2015) (denying a motion to dismiss an ADA claim

against a commercial website operator); James Patrick Brown v. BPS Direct, LLC, et

al., Case No. LACV 14-04622 JAK (JEMx) slip op. at 4-7 [ECF #30] (C.D. Cal. Oct. 6,

2014) (Krondstadt, J.) (denying the defendant’s motion to dismiss while relying on the

Target decision as “persuasive”, and holding “the Complaint does allege that Bass Pro

Shops is a chain of brick-and-mortar stores and that BassPro.com is a website

providing information about Bass Pro Shops products, offers, and locations…. [and

that] a nexus could be established here through discovery.”); Penney v. Kohl’s Dep’t
                                           6
Case 7:17-cv-00458-MFU Document 1 Filed 09/29/17 Page 7 of 13 Pageid#: 7




Stores, Inc., et al., No. 8:14-cv-01100-CJC-DFM [ECF #12] slip op. at 3 (C.D. Cal. Sept.

23, 2014) (Carney, J.) (denying a motion to dismiss and stating, “Thus, the Complaint

states plausible facts that establish the requisite nexus between the challenged service

and the place of public accommodation.”); National Ass’n of the Deaf v. Netflix, Inc.,

869 F. Supp. 2d 196, 200 (D. Mass. 2012) (excluding web-based services would “run

afoul of the purposes of the ADA and would severely frustrate Congress’s intent that

individuals with disabilities fully enjoy the goods, services, privileges, and advantages

available indiscriminately to other members of the general public”); id. at 200-01

(“[T]he legislative history of the ADA makes clear that Congress intended the ADA to

adapt to changes in technology.”) (quoting H.R. Rep. 101-485(II), at 108 (1990)) (“[T]he

Committee intends that the types of accommodation and services provided to individuals

with disabilities, under all of the titles of this bill, should keep pace with the rapidly

changing technology of the times.”); Shields v. Walt Disney Parks and Resorts US, Inc.,

279 F.R.D. 529, 559 (C.D. Cal. 2011) (rejecting as “unpersuasive” Disney’s argument

that “there is no accepted accessibility standard” and the argument that the DOJ has

yet to determine what standards to apply to websites and stating, “The lack of a widely

accepted standard for website accessibility does not preclude injunctive relief that

would improve access to Defendants’ websites by the visually impaired.”); Nat’l

Federation of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)

(“To limit the ADA to discrimination in the provision of services occurring on the

premises of a public accommodation would contradict the plain language of the

statute.”); id. at 953-54 (“consistent with the plain language of the statute, no court has
                                            7
 Case 7:17-cv-00458-MFU Document 1 Filed 09/29/17 Page 8 of 13 Pageid#: 8




held that under the nexus theory a plaintiff has a cognizable claim only if the challenged

service prevents physical access to a public accommodation. Further, it is clear that

the purpose of the statute is broader than mere physical access—seeking to bar actions

or omissions which impair a disabled person’s “full enjoyment” of services or goods of

a covered accommodation. 42 U.S.C. § 12182(a). Indeed, the statute expressly states

that the denial of equal “participation” or the provision of “separate benefit[s]” are

actionable under Title III. See 42 U.S.C. § 12182(b)(1)(A).”); cf. Hindel v. Husted, No.

2017 WL 432839, at *7 (S.D. Ohio Feb. 1, 2017) (granting a motion for preliminary

injunction against the Ohio Secretary of State based on the accessibility of the state’s

website under Title II of the ADA and requiring conformance with WCAG 2.0 Level A

and AA Success Criteria).

           The Inaccessibility of MemberOne FCU’s Website to the

                                 Visually-Impaired

    10. MemberOne FCU offers the commercial website, memberonefcu.org, which

provides, among other things, information concerning the MemberOne FCU locations

it operates, information and descriptions of its amenities and services, privileges,

advantages, and accommodations, and allows users to find the locations for them to

visit.

    11. Based on information and belief, it is MemberOne FCU’s policy and practice to

deny blind users, including Plaintiff, equal enjoyment of and access to

memberonefcu.org. Due to MemberOne FCU’s failure and refusal to remove access

barriers on memberonefcu.org, Plaintiff and other blind and visually impaired
                                            8
Case 7:17-cv-00458-MFU Document 1 Filed 09/29/17 Page 9 of 13 Pageid#: 9




individuals have been denied equal enjoyment of and access to the MemberOne FCU

locations and to the other services, advantages, privileges, and accommodations

offered to the public through memberonefcu.org.

   12. MemberOne FCU denies blind individuals equal enjoyment of and access to the

services, privileges, advantages, and accommodations and information made available

through    memberonefcu.org      by   preventing    them    from    freely   navigating

memberonefcu.org. Memberonefcu.org contains access barriers that prevented free

and full use by blind persons using screen reading software.

   13. Memberonefcu.org’s barriers are pervasive and include, but are not limited to,

the following: (1) Linked image missing alternative text which presents a problem

because an image without alternative text results in an empty link. Alternative Text is

invisible code embedded beneath a graphical image on a website. Web accessibility

requires that Alternative Text be coded with each picture so that a screen reader can

speak the Alternative Text where a sighted user sees pictures. Alternative Text does

not change the visual presentation, but instead a text box will pop-up when the mouse

moves over the picture. The lack of Alternative Text on these graphics prevents screen

readers from accurately vocalizing a description of the graphics. As a result, visually-

impaired MemberOne FCU customers are unable to determine what is on the website,

browse the site, look for the MemberOne FCU locations, check out Defendant’s

amenities, and/or determine which location to visit; (2) Redundant Links where

adjacent links go to the same URL address which results in additional navigation and

repetition for keyboard and screen reader users; and (3) Empty or missing form labels
                                           9
Case 7:17-cv-00458-MFU Document 1 Filed 09/29/17 Page 10 of 13 Pageid#: 10




which presented a problem because if a form control does not have a properly

associated text label, the function or purpose of that form control may not be presented

to screen reader users. Form labels provide visible descriptions and larger clickable

targets for form controls.

   14. Due to the inaccessibility of memberonefcu.org, blind and otherwise visually

impaired customers who use screen readers are hindered from effectively browsing for

MemberOne FCU’s locations, amenities and services, privileges, advantages, and

accommodations that exist online unlike sighted users. If memberonefcu.org were

accessible, Plaintiff could independently and privately investigate MemberOne FCU’s

services, privileges, advantages, and accommodations and amenities, and find the

location to visit via MemberOne FCU’s website as sighted individuals can and do.

   15. Despite several attempts to use memberonefcu.org in recent months, the

numerous access barriers contained on MemberOne FCU’s website have denied

Plaintiff’s full and equal access, and deterred Plaintiff on a regular basis from accessing

MemberOne FCU’s website.          Similarly, based on the numerous access barriers

contained on memberonefcu.org, Plaintiff has been deterred from visiting MemberOne

FCU’s physical locations that Plaintiff may have located by using memberonefcu.org.

 COUNT I: Violations of the Americans with Disabilities Act, 42 U.S.C. §

                                     12181 et seq.

   16. Plaintiff incorporates by this reference the allegations contained in the

preceding paragraphs as if fully set forth herein.

   17. Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq., provides: “No
                                            10
Case 7:17-cv-00458-MFU Document 1 Filed 09/29/17 Page 11 of 13 Pageid#: 11




individual shall be discriminated against on the basis of disability in the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, or accommodations

of any place of public accommodation by any person who owns, leases (or leases to), or

operates a place of public accommodation.” 42 U.S.C. § 12182(a).

   18. Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

includes, among other things: “a failure to make reasonable modifications in policies,

practices, or procedures, when such modifications are necessary to afford such goods,

services, facilities, privileges, advantages, or accommodations to individuals with

disabilities, unless the entity can demonstrate that making such modifications would

fundamentally alter the nature of such goods, services, facilities, privileges, advantages

or accommodations”; and “a failure to take such steps as may be necessary to ensure

that no individual with a disability is excluded, denied services, segregated or otherwise

treated differently than other individuals because of the absence of auxiliary aids and

services, unless the entity can demonstrate that taking such steps would fundamentally

alter the nature of the good, service, facility, privilege, advantage, or accommodation

being offered or would result in an undue burden”. 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

“A public accommodation shall take those steps that may be necessary to ensure that

no individual with a disability is excluded, denied services, segregated or otherwise

treated differently than other individuals because of the absence of auxiliary aids and

services, unless the public accommodation can demonstrate that taking those steps

would fundamentally alter the nature of the goods, services, facilities, privileges,

advantages, or accommodations being offered or would result in an undue burden, i.e.,
                                           11
Case 7:17-cv-00458-MFU Document 1 Filed 09/29/17 Page 12 of 13 Pageid#: 12




significant difficulty or expense.” 28 C.F.R. § 36.303(a). In order to be effective,

auxiliary aids and services must be provided in accessible formats, in a timely manner,

and in such a way as to protect the privacy and independence of the individual with a

disability.” 28 C.F.R. § 36.303(c)(1)(ii).

   19. MemberOne FCU’s locations are “public accommodations” within the meaning

of 42 U.S.C. § 12181 et seq. MemberOne FCU generates millions of dollars in revenue

from the sale of its amenities and services, privileges, advantages, and

accommodations in Virginia through its locations and related services, privileges,

advantages, and accommodations and memberonefcu.org. Memberonefcu.org is a

service, privilege, advantage, and accommodation provided by MemberOne FCU that

is inaccessible to patrons who are visually-impaired like Plaintiff. This inaccessibility

denies visually-impaired patrons full and equal enjoyment of and access to the facilities

and services, privileges, advantages, and accommodations that MemberOne FCU made

available to the non-disabled public. MemberOne FCU is violating the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq., in that MemberOne FCU denies visually-

impaired customers the services, privileges, advantages, and accommodations

provided by memberonefcu.org. These violations are ongoing.

   20. MemberOne FCU’s actions constitute intentional discrimination against

Plaintiff on the basis of a disability in violation of the Americans with Disabilities Act,

42 U.S.C. § 12181 et seq. in that: MemberOne FCU has constructed a website that is

inaccessible to Plaintiff; maintains the website in this inaccessible form; and has failed

to take adequate actions to correct these barriers even after being notified of the
                                             12
Case 7:17-cv-00458-MFU Document 1 Filed 09/29/17 Page 13 of 13 Pageid#: 13




discrimination that such barriers cause.

   21. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

and incorporated therein, Plaintiff requests relief as set forth below.


   WHEREFORE, Plaintiff prays for judgment against Defendant MemberOne

Federal Credit Union for preliminary and permanent injunctive relief pursuant to 42

U.S.C. § 12188(a)(1) and (2), further equitable relief, and for costs and attorneys’ fees,

and for such other and further relief as may be just and equitable.

TRIAL BY JURY IS DEMANDED

                                   Respectfully submitted,




                                   ________________________________
                                   Thomas E. Strelka, VA Bar No. 75488
                                   L. Leigh R. Strelka, VA Bar No. 73355
                                   STRELKA LAW OFFICE, PC
                                   119 Norfolk Avenue, SW,
                                   Warehouse Row, Suite 330
                                   Roanoke, Virginia 24011
                                   Phone: (540) 283-0802
                                   thomas@strelkalaw.com
                                   leigh@strelkalaw.com

                                   Scott J. Ferrell, Esq.
                                   Victoria Knowles, Esq.
                                   Pacific Trial Attorneys
                                   4100 Newport Place, Suite 800
                                   Newport Beach, CA 92660
                                   Phone: (949) 706-6464
                                   Fax: (949) 706-6469
                                   sferrell@pacifictrialattorneys.com
                                   vknowles@pacifictrialattorneys.com

                                   Counsel for Plaintiff
                                           13
